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                               UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF VIRGINIA
                                    ALEXANDRIA DIVISION



   MIDDLEBURG MANAGEMENT, LLC,
   F/K/A OLD DOMINION MANAGEMENT
   SERVICES, LLC, et al.,

                            Plaintiffs,             Case 1:16-cv-01558-CMH-MSN

          v.

   CHUBB LIMITED, F/K/A ACE LIMITED,
   et al.,

                            Defendants.


                 STIPULATION AND CONSENT ORDER OF DISMISSAL OF
               PLAINTIFFS’ CLAIMS AGAINST DEFENDANTS WESTCHESTER
                   FIRE INSURANCE COMPANY AND CHUBB LIMITED

          IT IS HEREBY STIPULATED by and among the undersigned counsel for Plaintiffs

   Middleburg Management LLC (“Middleburg”) and Christopher C. Finlay (“Finlay”), on the one

   hand, and Defendants Westchester Fire Insurance Company (“WFIC”) and Beecher Carlson

   Insurance Services, LLC (“Beecher Carlson”), on the other hand, as follows:

               1. Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Middleburg and

                  Finlay’s claims against WFIC, only, are dismissed with prejudice, with

                  Middleburg, Finlay and WFIC bearing their own costs and attorneys’ fees relating

                  to Middleburg and Finlay’s claims against WFIC, only, in the above-captioned

                  matter;

               2. Defendant Chubb Limited, f/k/a ACE Limited (“Chubb”), was not served with the

                  Amended Complaint, filed on December 2, 2016 in Fairfax County, Virginia, and,



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                pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Middleburg and

                Finlay’s claims against Chubb, only, are dismissed without prejudice;

             3. This dismissal does not affect Middleburg’s claims against Beecher Carlson,

                which claims remain pending in the above-captioned matter;

             4. This order is not a final order and does not close the above-captioned matter.

   Date: September 26, 2017


                                                                 /s
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   IT IS SO ORDERED. Any relief not expressly granted herein is DENIED.


   ENTERED this _______ day of ______________________, 2017.



                                           ________________________________
                                           Senior United States District Judge




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                                    CERTIFICATE OF SERVICE

          I hereby certify that on the 26th day of September, 2017, I will electronically file the

   foregoing with the Court using the CM/ECF system, which will then send a notification of such

   filing (NEF) to all counsel of record.




                                                        /s/
                                                        Brian A. Coleman




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